106 F.3d 392
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David Ray THOMAS, Plaintiff-Appellant,v.David BURGE, Institute Doctor, Perry Correc tionalInstitute;  Jan Whitmire, Nursing Super visor;  ArtieTaylor, Nurse, Perry Correctional Institute;  Maynard Bland,Institute Doctor, Perry Correctional Institute, Defendants-Appellees.
    No. 96-6739.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 9, 1997.Decided Jan. 21, 1997.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Charles E. Simons, Jr., Senior District Judge.  (CA-93-2060-2-6AJ)
      David Ray Thomas, Appellant Pro Se.
      Vincent Clark Price, LOVE, THORNTON, ARNOLD &amp; THOMASON, Greenville, South Carolina;  Larry Cleveland Batson, Robert Eric Petersen, SOUTH CAROLINA DEPARTMENT OF CORRECTIONS, Columbia, South Carolina, for Appellees.
      Before HALL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Thomas v. Burge, No. CA-93-2060-2-6AJ (D.S.C. Mar. 25, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    